     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 1 of 29 Page ID #:2417



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11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                CR No. CR 19-642-VAP
14
                Plaintiff,                    GOVERNMENT’S RESPONSE TO
15                                            DEFENDANT’S OBJECTIONS TO
                      v.                      PRESENTENCE REPORT; MEMORANDUM OF
16                                            POINTS AND AUTHORITIES
     IMAAD SHAH ZUBERI,
17                                            Date: June 1, 2020
                Defendant.                    Time: 9:00 a.m.
18                                            Courtroom: 8A

19

20

21

22

23         Plaintiff, United States of America, by and through its counsel

24   of record, the United States Attorney for the Central District of

25   California, hereby submits its response to defendant Imaad Shah

26   Zuberi’s objections to the Presentence Report (“PSR”).

27

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     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 2 of 29 Page ID #:2418



 1         An under seal declaration of Assistant United States Attorney

 2   Daniel J. O’Brien in support of this position, with exhibits, will

 3   be filed concurrently with this document.

 4    Dated: April 13, 2020               Respectfully submitted,
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 6
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 9                                              /s/
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10                                        Assistant United States Attorney
11                                        Attorneys for Plaintiff
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     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 3 of 29 Page ID #:2419



 1
                                    TABLE OF CONTENTS
 2

 3
     I.    INTRODUCTION..................................................1
 4
     II.   DEFENDANT’S FARA OBJECTIONS ARE WITHOUT MERIT.................1
 5
           A.    ZUBERI CONCEALED HIS LOBBYING FROM THE UNITED STATES, NOT
 6               PAKISTAN.................................................1

 7         B.    ZUBERI DEFRAUDED THE SRI LANKAN GOVERNMENT...............3

 8   III. DEFENDANT’S TAX LOSS CALCULATIONS ARE FRIVOLOUS...............4

 9         A.    ZUBERI’S TAX LOSS IS NOT OVERSTATED......................4

10               1.    Zuberi’s Fraud Against U.S. Cares Investors Generated
                       Income..............................................5
11
                 2.    Zuberi’s Claim that Most of Person J’s Transfers
12                     Represent Unspecified Investments Lacks Any
                       Evidentiary Support.................................8
13
                 3.    The Government Has Already Credited Zuberi for his
14                     Itemized Business Expenses.........................10

15         B.    ZUBERI’S TAX OFFENSES WERE SOPHISTICATED................10

16   IV.   DEFENDANT CANNOT VALIDATE HIS FECA OFFENSES.................100

17         A.    ZUBERI’S UNLAWFUL CONTRIBUTIONS EXCEED $550,000.........10

18               1.    Person J...........................................11

19               2.    Person AA..........................................11

20               3.    Person GG..........................................14

21               4.    Person JJ..........................................16

22               5.    Person P...........................................16

23               6.    Person BB..........................................17

24         B.    CONTRIBUTIONS WERE FUNDED BY PROHIBITED FOREIGN SOURCES

25   108

26   V.    DEFENDANT DID NOT INVEST AL AREEN............................23

27   VI.   DEFENDANT’S PAYMENTS TO BENEFIT A U.S. OFFICIAL IN
           PAKISTAN ARE GRATUITIES, NOT FARA VIOLATIONS.................24
28
                                             i
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 4 of 29 Page ID #:2420



 1   VII. CONCLUSION...................................................25

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     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 5 of 29 Page ID #:2421



 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         The government disputes defendant’s objections to the PSR.

 4   Most of the objections are baseless and frivolous; some are

 5   dishonest.    The PSR’s sentencing guideline calculations are correct.

 6   II.   DEFENDANT’S FARA OBJECTIONS ARE WITHOUT MERIT

 7          A.    ZUBERI CONCEALED HIS LOBBYING FROM THE UNITED STATES, NOT
                  PAKISTAN
 8
           Zuberi falsely asserts that he intended to conceal his Sri
 9
     Lankan lobbying efforts from Pakistan, India, and Bangladesh,1 not
10
     the United States.      The government set forth in its FARA Brief2
11
     Zuberi’s overarching motives in concealing his lobbying efforts.
12
     Zuberi’s version of events is without evidentiary support,3 directly
13
     contradicted by his interactions with a senior Pakistani official in
14
     as part of the Sri Lankan lobbying effort, and logically absurd.
15
           The involvement of a senior Pakistani official in the Sri
16
     Lankan lobbying effort flatly contradicts Zuberi’s claim that he
17
     sought to conceal his lobbying activities from the Pakistani
18

19        1 Defendant provides no evidence as to his business connections
     with any of these countries. The government concedes that defendant
20   engaged in a lobbying effort in the U.S. with respect to Overseas
     Private Investment Corporation (“OPIC”) loans for the development of
21   Pakistani wind power; the government is unaware of any business
     interests by defendant in India or Bangladesh. Defendant largely
22   concedes these facts stating that he had Indian connections only “to
     a lesser degree” and mentions Bangladesh only with respect to
23   “future business connections.”
24        2 This Response references the government’s prior sentencing
     positions filed with the Court on December 16, 2019, March 17, 2020,
25   March 18, 2020, and March 20, 2020, as its Obstruction Brief, FARA
     Brief, FECA Brief, and Tax Brief, respectively.
26
          3 Defendant submits no evidence to support his claim that
27   “business ties in one of the countries, particularly with the
     government, can have significant negative repercussions on business
28   opportunity in the other nations.”
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 6 of 29 Page ID #:2422



 1   government.     Zuberi enlisted the help of a Pakistani Government

 2   Minister, who was also a member of the Pakistani Senate, to convince

 3   Sri Lankan officials to contract for Zuberi’s lobbying services.

 4   From November 28 through December 2, 2013, and again, from February

 5   8 through February 12, 2014, the Pakistani Minister travelled to Sri

 6   Lanka with Zuberi and met with high-ranking Sri Lankan officials.

 7   (Exhibit 1; Exhibit 2: p. 62-63)        In January 2014, Zuberi repeatedly

 8   included the Pakistani official in correspondence that discussed

 9   inviting members of the U.S. Congress to visit Sri Lanka and having

10   a Sri Lankan delegation visit with U.S. officials in Washington,

11   D.C.   (Exhibit 3)     In May 2014, Zuberi forwarded draft versions of

12   the Sri Lankan contract to the Pakistani Minister.           (Exhibit 4)     In

13   June 2014, the Pakistani Minister was included in correspondence

14   issued by Sri Lankan officials as they discussed deliverables in

15   furtherance of the lobbying contract.         (Exhibit 5: BGS 2757-58)       In

16   July 2014, the Pakistani Minister asked Zuberi for a commission as

17   well as an accounting of disbursed funds.4          (Exhibit 5: BGS 1089-93,

18   1132-38, & 1036-49)

19          Zuberi’s claim that he sought to conceal lobbying efforts from

20   Pakistan and other South Asian governments because of frictions with

21   the Sri Lankan government ignores his repeated violations of FARA

22   with respect to countries in other parts of the world.            Zuberi

23   secretly lobbied the U.S. Congress on behalf of the Turkish and

24

25
          4 In response, defendant lied to the Pakistani official claiming
26   that the money was in the hands of WR and BGS, accused him of
     soliciting bribes, relayed information indicating that the official
27   had accused Zuberi of converting money to his own benefit, and then
     offered to pay the official if he would apologize. (BGS Selected
28   Production.)

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     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 7 of 29 Page ID #:2423



 1   Libyan governments as well as Ukrainian, Saudi, and Bahraini

 2   entities and individuals.       (FARA Brief, pp. 7-21.)

 3         Even if the Court somehow embraced Zuberi’s factual claim that

 4   he wished to conceal his activities from other countries, it does

 5   not rebut the fact that he concealed these activities from the

 6   United States government.       FARA required Zuberi to file information

 7   with the U.S. Government, not other nations.          Such FARA filings are

 8   publicly available.      Thus, a desire to conceal information from one

 9   foreign government would necessarily require concealment from the

10   U.S. Government and the American people.          At best, defendant could

11   only argue that he constructed WR Group (“WR”) and Beltway

12   Government Strategies (“BGS”) to conceal his lobbying from multiple

13   countries, including the United States.

14          B.    ZUBERI DEFRAUDED THE SRI LANKAN GOVERNMENT

15         Zuberi falsely asserts that he was entitled to keep all the

16   money distributed by the Sri Lankan government.           His claim that the

17   contract does not prohibit Zuberi taking the money ignores his

18   repeated false statements and inducements to Sri Lankan officials

19   that convinced them to sign the contract and pay invoices.

20         The government’s Tax Brief cites concrete examples of Zuberi’s

21   fraud against the Sri Lankan government.          Zuberi promised to spend

22   the overwhelming majority of Sri Lankan funds on lobbying, public

23   relations, and legal fees.       (Exhibit 2: p. 54-63, Exs. 173 & 174)

24   Zuberi failed to pay subcontractors who performed such services

25   thereby terminating their completion of assigned tasks.            (Exhibit 6:

26   BGS 663, 855-56; Exhibit 7)       Zuberi diverted funds that Sri Lankan

27   officials insisted be directed to WR, the contracting party.

28   (Exhibit 8: WRG 409-12, 337; Exhibit 7)         When the Pakistani Minister

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     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 8 of 29 Page ID #:2424



 1   asked for an accounting, Zuberi falsely asserted, "Again, the money

 2   is not with me but with the entity that signed the contract.             If the

 3   Sri Lankans want the money back then they need to ask the people

 4   with whom they signed the contract." (Exhibit 6: BGS 506-10.)

 5         Zuberi’s argument that he was entitled to 100 percent of the

 6   disbursed funds demonstrates a complete disconnect between his

 7   understanding of honest business practices and those required by the

 8   law and ethics.     This disconnect speaks to his character and brings

 9   into question his acceptance of responsibility.

10   III. DEFENDANT’S TAX LOSS CALCULATIONS ARE FRIVOLOUS

11          A.    ZUBERI’S TAX LOSS IS NOT OVERSTATED

12         After signing a civil closing agreement with the Internal

13   Revenue Service (“IRS”) that stipulates to a tax loss of $7,299,556,

14   Zuberi argues that this loss is substantially less for criminal

15   purposes.    Zuberi’s claim that the tax loss should only be

16   $3,590,634 does not alter the relevant guideline calculations

17   because the sentencing guidelines bracket losses between $3,500,000

18   and $9,500,000.

19         Defendant’s stipulation should be sufficient to establish by a

20   preponderance of the evidence the criminal loss figure as

21   $7,299,556.     More importantly, Zuberi’s attempts to lower the tax

22   loss are premised upon three false claims: the money he stole from

23   U.S. Cares investors constitutes “non-income,” 75 percent of funds

24   he received from Person J represent investments, and the closing

25   agreement did not consider $2,647,070 in business expenses.

26

27

28

                                             4
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 9 of 29 Page ID #:2425



 1               1.    Zuberi’s Fraud Against U.S. Cares Investors Generated
                       Income
 2
            Defense Exhibit 2, p.2 sets forth transfers into Zuberi’s
 3
     accounts, totaling $7,119,494,5 for investments in U.S. Cares.
 4
     Defense Exhibit 2, p. 1 characterizes $5,119,494 of this money as
 5
     “non-income deposits.”       This amount represents roughly $2 million
 6
     received from Person N and his Company H, and $3 million received
 7
     from Person J in connection with U.S. Cares.6
 8
            All but about $200,000 of this money was income to Zuberi
 9
     because he fraudulently converted the money.          The government
10
     previously summarized this fraud (Tax Brief, pp. 21-22 and Exhibit
11
     9A), and now highlights the following additional evidence:
12

13         Defendant and Renee Wu (defendant’s alter ego) falsely informed
            Person N that investment spots were closing and that Zuberi was
14
            having difficulty reconciling amounts received because of the
15          high number of deposits received from other investors. On
            December 6, 2013, Zuberi said, “Hello, [Person N]- Here is the
16          promissory note for you to sign for the remainder of the
            $1,250,000 after you wire $500,000 this Monday. Please make
17          sure the deadlines are met because we have lot of interest from
            other people. The huys (sic) are asking me why I am holding
18          place for you when we have people ready to invest today.”
19          (Exhibit 9: 1898) On December 25, 2013, Renee Wu told [Person
            N], “Imaad told me you have wired or deposited $1.75 million
20          into Emirates NBD and Bank of America accounts. Can you please
            email me how much you deposited in each account? There have
21

22
          5 The government largely accepts defendant’s figures.  However,
23   defendant characterizes the $199,814 transferred on May 28, 2013 as
     an investment from Person N while the government sees only a
24   transfer between Zuberi controlled accounts. Also, defendant notes
     the return of $2 million to investors in 2017 even those these
25   returns occurred after defendant became aware of the government’s
     investigation. The Government discussed these partial repayments in
26   its Obstruction Brief.

27        6 The Government has been notified by defense counsel that
     defendant does not seek to back out the $2 million received from
28   Person M through his business, Company G.

                                             5
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 10 of 29 Page ID #:2426



 1           been many deposits into these accounts recently, I want to make
             sure we associate those deposits and wire to you.” (Exhibit 9:
 2           1894-95) In a December 25, 2013 email, Zuberi told [Person N],
             “For the $750,000 in deposits in AED [Emirati Dirham], we got
 3           high number of deposits in Emirates NBD, when we take them
 4           apart and reconcile all the deposits we get AED 2.7 million for
             you. Would this be correct?” (Exhibit 9: 1896-97)
 5
             In fact, defendant’s accounts received no other investment
 6           funds in December 2013. (Defense Exhibit 2) Rather than
             impose deadlines, defendant continued to solicit and receive
 7           money from other investors after Person N’s investment. Avenue
 8           Ventures issued a $2,000,000 invoice to [Person M’s Company G]”
             for “US Cares capital infusion” on December 17, 2013. (Exhibit
 9           10) On January 28, 2014, Person M’s Company G transferred
             $2,000,000 to Zuberi’s Emirates account. (Defense Exhibit 2)
10

11          The U.S. Cares operating agreement required the segregation of
             investor funds. Avenue Ventures was required to maintain a
12
             capital account for each investor. The funds were required to
13           be “held in the name of the Company,” “not be commingled with
             those of any other Person,” and “used only for the business of
14           the Company. (Exhibit 11: ZUB 8906) In his December 25 email,
             Zuberi confirmed that notwithstanding the transfers into his
15           personal overseas accounts, investor funds would be segregated
             in a U.S. Cares bank account, stating, “we need repatriate the
16           $750,000 to USCares here.” (Exhibit 9: RS 1896-97)
17

18           In actuality, Zuberi transferred investor funds from his
             foreign accounts to his personal U.S. bank accounts. Zuberi
19           routed the entirety of the $499,592 received from Person J in
             October 2013 from Zuberi’s Barclays account into Zuberi’s
20           Emirates account.7 This transfer, added to the deposits from
             Person M and Person N, increased the balance of the Zuberi’s
21           Emirates account to approximately $3,200,000 by the end of
22           January 2014. Zuberi then transferred all of these funds to
             his personal accounts in the United States in three
23           installments and spent the money as follows: (Exhibit 12)

24           On February 6, 2014, ZUBERI wired $1,500,000 of the investment
             funds to his Bank of America account for the “purchase of real
25

26
           7 Zuberi’s Barclays (Dubai) account, into which Person J’s
27    $499,592 was deposited, was closed with the issuance of a $510,735
      check on November 7, 2013 made payable to Zuberi. On January 8,
28    2014, Zuberi deposited the check into his Emirates (Dubai) account.

                                              6
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 11 of 29 Page ID #:2427



 1           estate.” (Exhibits 12 & 13) Over the next two weeks, Zuberi
             converted the funds as follows:
 2
                  $512,376.03 to pay off a JP Morgan Chase mortgage on
 3           Zuberi’s Clary property;8
 4                $600,000 to Zuberi’s personal brokerage accounts;
                  $250,000 to Bill Clinton (cashiers check deposited into a
 5           Clinton Foundation account);
                  $79,361 to Zuberi’s American Express card (mostly campaign
 6           contributions & travel expenses).
             (Exhibit 13)
 7

 8           On April 10, 2014, Zuberi wired $700,000 of the investment
             funds to his Bank of America account to “payoff mortgage.”
 9           Over the next two weeks, Zuberi expended the funds as follows:

10                $480,000 to Zuberi’s personal brokerage accounts;
                  $178,546 to Zuberi’s American Express card (mostly
11           campaign contributions & travel expenses);
                  $16,520 to the IRS to pay personal income taxes.
12
             (Exhibit 13)
13
             On October 12, 2015, Zuberi wired the remaining $1,000,000 of
14           the investment funds to Seright Escrow in connection with the
             purchase of Zuberi’s McCulloch property. (Exhibit 12)
15

16          Similarly, Zuberi converted almost the entirety of investor
             funds wired directly into his U.S. bank account.
17
             Zuberi disbursed the $1,222,988 transfer from Person J on
18           November 20, 2013, the $500,000 transfer from Person N on
             December 10, 2013, and the $500,000 transfer from Person N’s
19           Company H on December 24, 2013 prior to the end of the year as
20           follows:

21                $1,550,000 to Zuberi’s personal brokerage accounts;
                  $200,000 to Zuberi’s spouse’s checking account which then
22           transferred the funds to her personal brokerage accounts;
                  $182,642 to Zuberi’s American Express card (mostly
23           campaign contributions & travel expenses);
                  $100,000 check to Zuberi;
24
                  $50,000 cashier’s check to the Smithsonian Institution;
25                $31,250 to a former U.S. military official;

26
           8 All real properties referenced in this Memorandum were owned
27    by limited liability corporations that were in turn owned by Zuberi
      and/or his spouse. Zuberi included these properties as personal
28    assets in the PSR.

                                              7
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 12 of 29 Page ID #:2428



 1                $10,823 to Zuberi’s Chase credit card;
                  $10,777 to Zuberi’s Chase credit card.
 2           (Exhibit 14)
 3           Zuberi converted the $500,000 received from Person J on
 4           February 21, 2014 as follows:

 5                $400,000 to Zuberi’s personal brokerage accounts;
                  $73,526 to Zuberi’s American Express card (mostly campaign
 6           contributions & travel).
             (Exhibit 13)
 7

 8           Zuberi converted the $832,145 received from Person J on March
             11, 2014 as follows:
 9
                $700,000 to Zuberi’s personal brokerage accounts
10              $56,000 to Zuberi’s American Express card (mostly campaign
      contributions & travel expenses)
11              (Exhibit 13)
12
            Other than issuing two $90,000 payments to a law firm,
13           defendant took no steps to apply investor funds to the project.
             (Exhibit 15)
14
            When sanctions against Iran were lifted in January 2016,
15
             rendering the business plan essentially moot, defendant made no
16           efforts to refund investor money. In February 2016, when OFAC
             determined that the proposed transactions “appear to be
17           generally authorized,” defendant made no efforts to implement
             the project. (Exhibits 16A & 16B)
18

19          Both Person M and Person N have complained that Zuberi refused
             to return their money. One hired a law firm to threaten a
20           lawsuit. The other sought the help of a Zuberi associate to
             convince him to return the money. (Obstruction Brief) Zuberi
21           returned only half of the money to these two investors and only
             after he became aware of the government’s criminal
22           investigation. (Defense Exhibit 2)
23                2.    Zuberi’s Claim that Most of Person J’s Transfers
                        Represent Unspecified Investments Lacks Any
24                      Evidentiary Support
25           In another attempt to reduce the scope of his income tax
26    evasion, Defense Exhibit 2 claims that 75 percent of all non-U.S.
27    Cares transfers from Person J represent funds “held for
28    investments.”     Defendant does not identify the nature of these

                                              8
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 13 of 29 Page ID #:2429



 1    investments nor provide any underlying documentary support for their

 2    existence.

 3          Defendant has lied so much he can no longer keep his lies

 4    straight.    He claims that 75 percent of the $1,999,980 he received

 5    from Person J in 2015 (i.e. $1,499,985) wasn’t income, but rather

 6    “held for investments.”      (Defense Exhibit 2)      Yet, when defendant

 7    filed his 2015 tax returns, he actually reported the entire

 8    $1,999,980 as income.      Defendant’s return for Avenue Capital Group

 9    (“ACG”) reported $2,259,979 in total income.          (Exhibit 17A)      A

10    reconciliation of ACG’s bank records show total deposits of the same

11    amount, $2,259,979, in 2015.       The overwhelming bulk of that money

12    originated from Person J in the form of two wire transfers of

13    $1,000,000 and $999,980.      (Exhibit 17B)

14          The government wishes to avoid burdening the court with

15    additional documents to demonstrate that money defendant received

16    from Person J represented income.           The calculations now at issue

17    were accepted by defendant in a civil closing agreement with the

18    IRS, accepted by the Probation Office (“USPO”) in the PSR, and make

19    no difference to the sentencing guideline calculations.            The

20    government has submitted a summary of all monetary transfers from

21    Person J to defendant with citations to the underlying documentary

22    support.    (Tax Brief Exhibit 8.)9      The summary identifies

23    approximately $3 million invested in U.S. Cares that Zuberi

24    converted, $2 million in payments for services related to the Al

25    Areen scam, $3 million in consulting fees and expense

26

27
           9 The government will provide the underlying documents to rebut
28    any further submissions from defendant on this issue.

                                              9
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 14 of 29 Page ID #:2430



 1    reimbursements, and $500,000 in fraudulent expenses reimbursements.

 2    All these amounts represent income to Zuberi.

 3                  3.   The Government Has Already Credited Zuberi for his
                         Itemized Business Expenses
 4
            Defendant complains that the income calculations fail to
 5
      consider business expenses that total $2,647,070.           The government
 6
      has already credited defendant for these expenses.           As an example,
 7
      defendant claims $681,385 in expenses for 2013.          (Defense Exhibit 2)
 8
      The government’s tax calculations includes these same expenses plus
 9
      an additional $180,000 for defendant’s expenses relating to U.S.
10
      Cares.      (Exhibit 18: p. 5)
11
             B.     ZUBERI’S TAX OFFENSES WERE SOPHISTICATED
12
            Defendant argues that transfers routed through WR and BGS
13
      cannot support a sophisticated means enhancement because Sri Lanka
14
      directed the first two payments directly to defendant’s personal
15
      bank account.      The government concedes that the initial transfers
16
      into defendant’s account were not sophisticated.          However, once Sri
17
      Lanka insisted that funds be issued to the contracting party, Zuberi
18
      engaged in sophisticated efforts to funnel the money into his own
19
      accounts without detection by the IRS.         Moreover, defendant engaged
20
      in other sophisticated efforts to evade taxes on income generated
21
      through other schemes.      (Tax Brief, pp. 3-8)
22
      IV.   DEFENDANT CANNOT VALIDATE HIS FECA OFFENSES
23
             A.     ZUBERI’S UNLAWFUL CONTRIBUTIONS EXCEED $550,000
24
            Defendant has submitted an assortment of objections to the FECA
25
      violations enumerated in the PSR.        The government groups its
26
      response by each supposed contributor.
27

28

                                             10
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 15 of 29 Page ID #:2431



 1                1.    Person J

 2          The defense wishes to eliminate contributions paid by Person J,

 3    a foreign national, from the PSR’s tally by claiming FECA does not

 4    prohibit foreign contributions to state election campaigns.10

 5    Defense counsel is wrong on the law.11        FECA prohibits contributions

 6    made, directly or indirectly, by foreign nationals in connection

 7    with any election – federal, state, or local.          52 U.S.C.

 8    § 30121(a)(1)(A).12

 9                2.    Person AA

10          With respect to Person AA’s contributions, the government bears

11    some responsibility for creating an issue that defendant chose to

12

13
           10 The precise amount of campaign contributions intentionally
14    funded by Person J is uncertain. FECA Brief Exhibit 1 only
      demonstrates an express agreement to reimburse $25,000 of $200,000
15    in contributions and draws an inference as to the rest. The PSR
      only included $25,000 in its tally.
16
           Tax Brief Exhibit 8 shows that the wire from Person J was
17    payment for defendant’s Al Areen lobbying services. Given
      defendant’s explanations to others as to the importance of campaign
18    contributions, Person J likely intended to pay defendant for
      consulting services, but with knowledge that a portion of the money
19    would be used to make contributions. In such a case, the money
      would constitute both illegal campaign contributions and taxable
20    income without an offsetting expense deduction. Under 26 U.S.C. §
      162(e)(1), no deduction is allowed for any lobbying or political
21    expenditures paid in connection with influencing legislation,
      participating in any political campaign, influencing the public with
22    respect to elections or legislative matters, and any direct
      communication to influence senior executive official actions. Under
23    26 U.S.C. § 162(c)(2), any illegal payment, including illegal
      campaign contributions, are not deductible as business expenses.
24
           11 Defense counsel’s citation to McConnell v. Fed. Election
25    Comm’n, 540 U.S. 93, 122 (2003) is non sequitur. The reference
      provision in the former FECA statute pertained to dollar limitations
26    on contributions, not prohibitions on foreign contributions.

27         12 The $25,000 contribution is illegal for two reasons: it was
      paid by Person J and solicited of Person N, both of whom are foreign
28    nationals.

                                             11
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 16 of 29 Page ID #:2432



 1    exploit.    To save labor and reduce the scope of litigation, the

 2    government initially backed out contributions in the name of Person

 3    AA that were paid from joint accounts Person AA shared with

 4    defendant.    Defendant seeks to back out additional contributions by

 5    tracing to joint accounts the payment of debts incurred on Zuberi

 6    credit cards for campaign contributions.         The defense has

 7    selectively conducted its tracing effort and achieved an incorrect

 8    result.

 9          The government has now traced the sources of payment for Person

10    AA’s contributions, discovered some minor errors in its prior

11    submission, and made appropriate changes.13         (Exhibit 19)    The net

12    result is that total contributions should be at least $774,358 and

13    at most $954,558.

14          Much of defendant’s argument is premised on USC Credit Union

15    (“USCCU”) account xx6700-xx having been identified as a joint

16    account.    (FECA Brief Exhibit 1)      This was an error by the

17    government; in fact, defendant was the sole owner and signatory.

18    (Exhibit 20)

19          The only bank account jointly held by Person AA and defendant

20    was USC Credit Union account xx6250-xx.         This account received

21    Person AA’s retirement and social security checks totaling $108,450

22    and $330,400 in transfers from defendant’s accounts during the

23    relevant timeframe.      (Exhibit 21)    The joint bank account funded two

24    contributions from Person AA: $5,200 to Campaign FF on August 15,

25

26         13 The revised version of the FECA violation spreadsheet
      highlights changes in bold and now totals $954,558. If the USPO
27    backs out the $175,000 of the contributions to Campaign AA and the
      $5,400 in contributions to Campaign FF, its new figure should be
28    $774,358.

                                              12
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 17 of 29 Page ID #:2433



 1    2013 and $10,000 to Campaign J on August 22, 2014.           A $30,000

 2    transfer from Zuberi’s brokerage account funded the $10,000

 3    contribution to Campaign J and should not be backed out.            (Exhibit

 4    21)   The contribution to Campaign FF could have been funded by

 5    Person AA’s retirement and social security income.           (Exhibit 21)

 6    Even though Person AA’s signature on the contribution check appears

 7    inconsistent with the signature she provided on account opening

 8    documents (Exhibits 22A & 22B), and she would have had to expend all

 9    of her retirement income accrued over three months to make the

10    contribution (Exhibit 21), the Court may wish to back out this

11    transaction from the list of FECA violations in an abundance of

12    caution.

13          Defendant points out that Person AA was an authorized user on

14    Zuberi’s Chase credit card xxx7267, which made a $5,000 contribution

15    to Campaign DD on September 27, 2012.         However, the same tracing

16    methodology demonstrates that Zuberi personally paid for this

17    contribution with funds drawn from his personal USC account, xx6700-

18    xx.   (Exhibit 23)14

19          Defendant’s attempt to trace the source of two Person AA

20    contributions, $25,000 to Campaign DD on September 27, 2012 and

21    $2,600 to Campaign D on April 22, 2013, from Zuberi’s American

22    Express credit card account to a joint account is similarly flawed.

23

24

25
           14 Exhibit 23 shows that the balance on the Chase account as of
26    September 21, 2012 was $308. Adding expenses incurred on the credit
      card from September 21 to October 3 resulted in a debt of
27    approximately $29,278.78. A credit to the account and three
      payments from Zuberi’s personal USC bank account between September
28    27 and October 6 totaled the same amount, $29,278.79.

                                             13
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 18 of 29 Page ID #:2434



 1    Both credit card expenses were paid by Zuberi’s personal USC

 2    account, xx6700-xx.15     (Exhibits 24A & 24B)

 3          Moreover, any good faith effort16 to trace the source of the

 4    funds would lead to defendant’s overseas clients.           Exhibit 25 traces

 5    the origin of all nine Person AA contributions challenged by the

 6    defense.    The sources of all but two of the contributions originated

 7    from foreign clients, passed though Zuberi accounts, and in some

 8    cases through joint accounts held by Zuberi and Person AA before

 9    reaching the campaigns.       Two contributions appear to have been paid

10    with Person AA’s retirement income, assuming that she was willing to

11    pay the entirely of her social security and retirement income

12    received over a three-month span to pay $5,200 to a Los Angeles

13    Congresswoman’s campaign.17      That assumption is difficult to make

14    given that the remainder of Person AA’s $170,800 in contributions

15    were illegal conduit and foreign transactions orchestrated by

16    defendant.

17                 3.   Person GG

18          Person GG, a cousin of Zuberi, who has no history of making

19    campaign contributions, claims to have reimbursed defendant for

20

21
           15 The credit card debt incurred by the $25,000 contribution was
22    paid the same day the debt was incurred; otherwise, defendant would
      have exceeded his credit limit. This is the same account where
23    defendant forged correspondence with the credit card company to
      convince clients that he had incurred large debts funding their
24    foreign contributions. (Tax Brief, pp. 16-17)

25         16 Defendant’s objection to these transactions lacks good faith.
      As set forth in the Tax Brief and FECA Brief, defendant emails show
26    that he solicited and obtained illegal funding for the Campaign DD
      contribution from his foreign clients.
27
           17 The government has no evidence that Person AA had any
28    knowledge of the contributions made in her name.

                                             14
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 19 of 29 Page ID #:2435



 1    $10,200 in contributions made in Person GG’s name.           Contrary to

 2    defense counsel’s legal argument, such reimbursements are prohibited

 3    and not valid “earmarks.”18      Regardless, the government has already

 4    set forth sufficient evidence for the Court to reject Person GG’s

 5    claim that on January 27, 2014, he agreed to contribute maximum

 6    amounts, didn’t have his credit cards handy, asked Zuberi to front

 7    the money, and either repaid Zuberi with money he kept in an

 8    unspecified drawer in his home or through reductions in salary

 9    payments that don’t appear in his bank accounts.          (FECA Brief,

10

11
           18 Defendant’s claim that he conveyed earmarked contributions as
12    a designated intermediary does not constitute a defense. “For
      purposes of the limitations imposed by this section, all
13    contributions made by a person, either directly or indirectly, on
      behalf of a particular candidate, including contributions which are
14    in any way earmarked or otherwise directed through an intermediary
      or conduit to such candidate, shall be treated as contributions from
15    such person to such candidate. The intermediary or conduit shall
      report the original source and the intended recipient of such
16    contribution to the Commission and to the intended recipient.” 52
      U.S.C. § 30116(a)(8). This provision commonly relates to
17    fundraising by Political Action Committees, see
      https://www.fec.gov/help-candidates-and-committees/filing-
18    reports/contributions-received-through-conduits, and is subject to
      disclosure requirements. 52 CFR § 110.6(c)(1)(iii). FEC records
19    demonstrate that defendant made no disclosures of earmarked
      contributions. Moreover, contrary to the circumstances in this
20    case, the intermediary may exercise no direction over the choice of
      the recipient candidate. 52 CFR § 110.6(d).
21
           Contributions made in the name of another, such as those
22    engaged in by defendant, are criminal offenses. 52 U.S.C. § 30121.
      Defendant was well aware of that he could not make donations in the
23    names of others. Indeed, he repeatedly lied in connection with
      making these donations posing as the contributor online and
24    certifying, “this donation is made from my own funds and not those
      of another.” (FECA Brief p. 12.)
25
           Regardless, the government has not included in its calculations
26    any reimbursed or funneled contributions correctly attributed to the
      true source, even when reimbursements occurred after a significant
27    time lag. For example, the government did not include a
      contribution defendant made in the name of Person LL on June 23,
28    2015 that Person LL reimbursed on January 7, 2016.

                                             15
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 20 of 29 Page ID #:2436



 1    O’Brien Declaration, ¶13)       The only transfers into Zuberi’s bank

 2    accounts from Person GG are regular $500 per month payments for a

 3    car rental that began months prior to the contributions and

 4    continued thereafter.      Zuberi’s accounts show no pattern of reduced

 5    payments to Person GG sufficient to offset the $10,200 in illegal

 6    campaign contributions.       (Exhibit 26)

 7                4.    Person JJ

 8          Person JJ, a student19 who had no history of making campaign

 9    contributions, claims that the $2,500 in cash she received from

10    Zuberi the day prior to her maximum permitted contribution of $2,700

11    was for unspecified business services she performed, despite not

12    reporting such income on her income tax returns.          The government has

13    already set forth sufficient evidence for the Court to reject Person

14    JJ’s testimony.     (FECA Brief, O’Brien Declaration, ¶14.)

15                5.    Person P

16          Without submitting any declaration of evidence in support,

17    defendant speculates that Person P may have reimbursed contributions

18    defendant made in Person P’s name.          Zuberi suggests, again without

19    evidence, that such reimbursement may have taken the form of reduced

20    salary.

21          Contrary to defendant’s assertion, Person P testified that his

22    contributions were paid by Zuberi.          Zuberi either let him use

23    Zuberi’s credit card to make contributions or Zuberi would reimburse

24    Person P for any contributions Person P made.          This is sufficient

25    evidence to meet the preponderance of evidence standard of proof at

26

27
           19 Defendant’s objection mischaracterizes his relationship with
28    Person JJ.

                                             16
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 21 of 29 Page ID #:2437



 1    sentencing.       Regardless, the government provides the following

 2    additional evidence to refute the unsubstantiated claim that Person

 3    P reimbursed Zuberi for contributions funded by Zuberi:

 4                The campaign committees that received these funds were for
 5                 the Democratic and Republican ranking members of the House
                   Foreign Affairs Committee. At the time of the
 6                 contributions, January 27, 2014, Zuberi was in Washington,
                   D.C. in connection with meetings scheduled on January 27-
 7                 30, 2014 involving these two Congressmen, 15 other
                   Congresspersons and Senators, and a delegation from Sri
 8                 Lanka. (Exhibit 27)
 9
                  Person P’s financial transactions with Zuberi show no
10                 evidence that he reimbursed Zuberi for any campaign
                   contributions nor any salary reduction for Person P in
11                 2014. In fact, there were thirteen payments of $5,000
                   that year and Zuberi issued a 1099 for $60,000 in payments
12                 that Person P reported on his tax return. (Exhibit 28)
13                 There was an interruption in payments in 2015 but that was
                   based upon a temporary “misunderstanding” with defendant
14                 that was quickly resolved. (Exhibit 29)

15                 6.     Person BB

16          Zuberi’s claim that a campaign staffer may have mistakenly

17    identified Contributor BB through an internet search is pure

18    speculation.      There is no declaration by defendant’s spouse that she

19    intended to make the contribution, any explanation as to how the

20    contributor name was incorrectly linked to Zuberi on the internet,

21    or evidence that the internet posting occurred before the

22    contribution rather than the other way around.          There is evidence

23    that Zuberi fabricated the name, because he fabricated another name

24    to the same campaign committee: Margaret [Person C surname].20

25

26
           20 If Person BB’s contribution should have been credited to
27    defendant’s spouse, the limitations on contributions to Campaign A
      would have been violated. The government has discovered another
28    $5,000 contribution in the name of “William W. Rao,” referencing
      employment at CAI and an address in El Monte, to Campaign A.
                                        17
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 22 of 29 Page ID #:2438



 1          B.    CONTRIBUTIONS WERE FUNDED BY PROHIBITED FOREIGN SOURCES

 2          Zuberi’s argument that he was unaware he solicited or received

 3    prohibited foreign contributions is absurd.          Zuberi frequently

 4    solicited such contributions, concealed the foreign national status

 5    of some contributors, manufactured fraudulent invoices to conceal

 6    foreign corporation funding of contributions, and continued to make

 7    contributions in the name of Person A even after a campaign informed

 8    Zuberi that it rejected a contribution from Person A because he was

 9    a foreign national.

10          All of the contributions in the name of Persons A, B, C, D, E,

11    and F identified by the government as FECA violations were funded

12    entirely by Company A, a foreign corporation, by Company B, a

13    foreign corporation, or by Zuberi personally.          Of these individuals,

14    only Person B and Person C were eligible to make campaign

15    contributions and, on occasion, did so with their own funds.             The

16    government has not included these legal contributions in its tally

17    of violations.

18          The defense is wrong with respect to the definition of a

19    prohibited foreign national because they have omitted half of the

20    statutory definition.      "Foreign nationals" include foreign citizens,

21    immigrants not lawfully admitted for permanent residence, foreign

22    corporations, foreign associations, foreign partnerships, foreign

23    governments, foreign political parties, and any other foreign

24    principal, as defined under FARA.21         The defense is equally wrong

25

26    (Exhibit 19A) This contribution was funded by the $136,600 Company
      A wire transfer and has been added to the list of FECA violations.
27
           21 The FECA provision, 52 U.S.C. § 30121, defines “foreign
28    national” as:

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     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 23 of 29 Page ID #:2439



 1    when it states that the foreign status of a corporation is dependent

 2    upon who owns the entity; rather, it depends upon where the entity

 3    was organized and operates its principal place of business.            (Id.)

 4          Defendant cannot seriously contend that he believed

 5    contributions funded by Company A and Company B, foreign entities,

 6    were permissible.     First, defendant acknowledged that corporate

 7    contributions were illegal, telling Person LL, “it has to be person

 8    not from company . . . The contribution has to from personal

 9    account.”    (Exhibit 33)    Second, defendant received literally

10    hundreds of admonitions that both corporate and foreign

11    contributions were strictly prohibited.         (FECA Brief, pp. 12-14)

12    Third, defendant issued fraudulent invoices to Company B that

13

14
           “(1) a foreign principal, as such term is defined by [FARA]
15    section 611(b) of title 22, except that the term ‘foreign national’
      shall not include any individual who is a citizen of the United
16    States; or

17         (2) an individual who is not a citizen of the United States or
      a national of the United States (as defined in section 1101(a)(22)
18    of title 8) and who is not lawfully admitted for permanent
      residence, as defined by section 1101(a)(20) of title 8.”
19
           The referenced FARA provision, 22 U.S.C. § 611(b), defines a
20    foreign principal as-

21         “(1)   a government of a foreign country and a foreign
      political party;
22
           (2)   a person outside of the United States, unless it is
23    established that such person is an individual and a citizen of and
      domiciled within the United States, or that such person is not an
24    individual and is organized under or created by the laws of the
      United States or of any State or other place subject to the
25    jurisdiction of the United States and has its principal place of
      business within the United States; and
26
           (3)   a partnership, association, corporation, organization, or
27    other combination of persons organized under the laws of or having
      its principal place of business in a foreign country.” (emphasis
28    added)

                                             19
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 24 of 29 Page ID #:2440



 1    falsely characterized reimbursements of campaign contributions as

 2    “consulting fees” to disguise the nature of the transactions.

 3    (See, e.g., Exhibit 34)

 4          Defendant also solicited foreign individuals for contributions.

 5    For example, in 2012, Person E, a foreign national, told Zuberi that

 6    the campaign contribution form had a “clause whereby foreign

 7    nationals are prohibited from contributing.”          Person C, a U.S.

 8    citizen, reiterated the concern, telling Zuberi that four of the

 9    five remaining attendees were not American and adding, “Please be

10    sure that the money is not an issue22 as long as we are doing things

11    right.”    Despite these warnings, Zuberi replied, “We will try to do

12    the same way we did for [Person C’s] wife [Person D, a foreign

13    national].”    (Exhibit 30A)

14          The way Zuberi did it was to conceal the foreign national

15    status of Person D.      For her first contribution, defendant created

16    an entirely fictitious name for Person D, “Margaret” followed by

17    Person C’s surname, and provided the campaign with a bogus address

18    in Derton (sic), Texas, that was actually her brother-in-law’s

19    address.    (Exhibit 19: 4/27/12 entry; Exhibits 30B & 30C)          For

20    Person D’s next two contributions, defendant used her true name but

21    falsely provided an address in El Monte, California that was

22    actually the business address of Zuberi’s sister-in-law.            (Exhibit

23

24
           22 Zuberi’s claim that foreign nationals could attend political
25    events with their U.S. citizen spouses (Defense Brief, p. 15) is a
      red herring. A U.S. citizen can purchase multiple tickets to such
26    events, can bring foreign nationals to attend, and the submission of
      passports is typically required for security purposes. (Exhibit
27    30A, p. 3) As referenced by Person C’s email, the limitation
      pertains to the money. Foreign nationals may attend; they may not
28    contribute.

                                             20
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 25 of 29 Page ID #:2441



 1    19: 5/18/12 and 9/30/12 entries; Exhibits 30D & 30E).           Zuberi

 2    concealed from the campaign the information Person D provided on her

 3    contribution form that showed she lived and worked in Kuwait.

 4    (Exhibit 30F)

 5          Zuberi knew that he was soliciting foreign nationals for the

 6    money in connection with the 2012 Inauguration.          On January 6, 2013,

 7    Zuberi told Person C, “you will get the best package but [Person A]

 8    and [Person E] will get better packages than what they should get.

 9    For now, [Person A] will get the Adams Package which is for $150,000

10    when he paid only $100,000.”       (Exhibit 31A)     On January 21, 2013,

11    Zuberi told Person C that “[Person A and Person E, both foreign

12    nationals] haven’t paid enough for the photo.”          Zuberi then told

13    Person C to pressure Person A, the foreign national, to pay more and

14    threatened to cut off business ties if he didn’t come through with

15    the money.    (Exhibit 31B)

16          Defendant could not have believed that the U.S. citizen spouse

17    married to a foreign spouse created some sort of defense.            Defendant

18    solicited Person E and Person F, husband and wife, for contributions

19    even though both were foreign nationals.         (Exhibits 30A and 30G)

20    When informed by Campaign W that a contribution in the name of

21    Person A violated the law because he was a foreign national,

22    prompting its return (Exhibits 32A and 32B), defendant nevertheless

23    made another contribution in Person A’s name to another campaign

24    committee that didn’t appropriately vet the contributions.            (Exhibit

25    19: 9/28/16 entry)

26          Zuberi claims that contributions made by himself and his spouse

27    were derived from earned income, not foreign transfers dedicated to

28    making campaign contributions.       The government has already set forth

                                             21
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 26 of 29 Page ID #:2442



 1    testimony, correspondence, invoices, and financial information that

 2    links the contributions in question to specific international

 3    transfers explicitly dedicated for contributions.           (FECA Brief, pp.

 4    8-11)    Exhibit 35 lists the contributions disputed by defendant,

 5    summarizes the evidence, and cross-references additional exhibits.

 6            Zuberi can point to no earned income that could have funded

 7    these contributions.      All of the contributions in question were

 8    funded by Company B wire transfers.         According to Person C, who

 9    directed the funds from Company B to Zuberi, all of the referenced

10    transfers were for campaign contributions23 and Person C specifically

11    declined to pay consulting fees to Zuberi because none of his

12    business propositions had born fruit.         (Exhibit 40)    Indeed, the

13    money from Company B had to have been used to fund the campaign

14    contributions because defendant engaged in the habit of depleting

15    his account prior to the arrival of new funds.          Defendant

16    transferred Company B funds from his Barclays account in Dubai into

17    his USCCU account, xx6700-xx.       (Exhibit 41A)     From there, defendant

18    issued contributions directly to campaigns or paid credit card debt

19    incurred for campaign contribution expenses.24         (Exhibit 41B)

20

21
           23 The only money transferred from Company B to defendant that
22    did not pertain to FECA contributions was $21,064.29 to reimburse
      defendant’s expenses incurred during an unsuccessful business
23    development trip to Korea.

24         24 For example, Company B transferred $136,600 transfer on May
      2, 2012 and $71,600 on June 12, 2012 for the explicit purpose of
25    making campaign contributions. Defendant transferred all of the
      funds into his USCCU account, xx6700-xx. (Exhibit 41A) Defendant
26    then used the USCCU account to increase his credit card limit and
      pay credit card debt for several campaign contributions, including
27    those made in the name of Zuberi’s spouse to Campaign DD on May 22
      ($25,000) and May 24 ($10,000) and to Campaign A on May 29 ($5,000).
28    (Exhibits 41B, 42, 43A, 43B, 43C & 43D)

                                             22
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 27 of 29 Page ID #:2443



 1    V.    DEFENDANT DID NOT INVEST IN AL AREEN

 2          Defendant persists in the lie that he invested money in Al

 3    Areen.25   Contrary to press releases that announced Avenue Ventures’

 4    heavy investment Al Areen, bank records demonstrate that neither

 5    defendant nor Avenue Ventures ever invested a single penny.            In

 6    fact, money flowed in the opposite direction.          Contracts, invoices,

 7    and email correspondence show that defendant agreed to perform

 8    lobbying work on behalf of Person J in connection with Al Areen.

 9    Bank records confirm that Person J transmitted about $2 million to

10    defendant in connection with that lobbying effort.

11          Shortly after an April 30, 2013 ceremony, Zuberi orchestrated

12    the distribution of false and misleading press releases throughout

13    the world, claiming “Al Areen City Development Attracts Foreign

14    Investment from US-based Avenue Ventures” and “F[oreign] D[irect]

15    I[nvestment] Flows In.”      (Exhibit 44A)     Over two years later,

16    Foreign Policy Magazine, which published an expose of Zuberi’s

17    activities, posted a correction at the request of Zuberi that

18    claimed,    “Businessman and Democratic donor Imaad Zuberi’s

19    investment firm, Avenue Ventures, put $700 million into a luxury

20    resort in Bahrain; Zuberi himself did not spend that money.”

21    (Exhibit 44B)

22          Participants to the signing ceremony confirm the non-existence

23    of a contract and explain how Zuberi designed the entire effort to

24    hoodwink the U.S. Congress into putting pressure on the Bahrain

25    government for the benefit of Person C.         (Exhibit 45; FARA Brief pp.

26

27
           25 Defendant did not include his supposed Al Areen investment in
28    his financial disclosures to the USPO.

                                             23
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 28 of 29 Page ID #:2444



 1    7-10)    Correspondence that year shows that, rather than consummating

 2    a deal in which Avenue Ventures would purchase shares in the

 3    project, Zuberi repeatedly pushed Person J into signing a consulting

 4    contract to compensate Zuberi for his lobbying efforts.            (Exhibits

 5    46A, 47B, and 46C)     The parties executed the consulting contract in

 6    August 2013 (Exhibit 47), Zuberi issued invoices to Person J’s

 7    company that same month (Exhibit 48), and those invoices appear to

 8    have been paid.     (Tax Brief: Exhibit 8)      Bank records demonstrate

 9    that neither Zuberi nor any Avenue Ventures entity sent any money to

10    Person J or his companies (Exhibit 15); rather, money flowed in the

11    opposite direction-—from Person J to Zuberi.          (Tax Brief, p. 22)

12            The Share Purchase Agreement, the only document touted by

13    Zuberi as proof of his investment, is another sham.           (Exhibit 49)

14    While the agreement bears the same date as defendant’s purported

15    investment, April 30, 2013, the notary stamp bears no date.

16    (Exhibit 50)    Notary records shows the agreement actually was

17    executed on November 10, 2014, well after the events in question.

18    Moreover, the agreement is without legal effect because it consists

19    merely of a promise to purchase shares in Al Areen without a

20    specification as to amount, price, or date.

21    VI.     DEFENDANT’S PAYMENTS TO BENEFIT A U.S. OFFICIAL IN PAKISTAN ARE
              GRATUITIES, NOT FARA VIOLATIONS
22
              The defendant fails to appreciate the significance of his
23
      conduct with respect to Person NN, the U.S. official stationed in
24
      Pakistan.    Neither the PSR nor the government takes the view that
25
      this conduct violated FARA.       Undisclosed payments received by Person
26
      NN and the journalist with whom Person NN had a relationship were
27
      contemporaneous with Person NN providing assistance to Zuberi’s
28

                                             24
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 29 of 29 Page ID #:2445



 1    business.    The payment of gratuities to a public official are

 2    relevant to defendant’s character.          The government will address the

 3    particulars with respect to this issue when it files its sentencing

 4    recommendation.

 5    VII. CONCLUSION

 6          Defendant’s objections are largely baseless and include

 7    instances of false representation and deceit.          Defendant’s has tried

 8    to effectively backdate a notarized document, exploit a government

 9    error as to the ownership of a bank account, and selectively traced

10    the source of contributions, omitting their foreign source.            Such

11    obfuscations, in tandem with his failure to meet obligations imposed

12    by the plea agreement, bring into question his acceptance of

13    responsibility, particularly with respect to relevant conduct.

14           While some slight modifications to the PSR are required,26 the

15    PSR sentencing guideline calculations are correct.           Defendant’s

16    guideline level is 32, resulting in a sentencing range of 121 to 151

17    months imprisonment.      If the court grants defendant complete

18    acceptance of responsibility, his offense level is 29, resulting in

19    a sentencing range of 87 to 108 months imprisonment.

20

21

22

23

24

25

26

27         26 At a minimum, the PSR should reflect total illegal campaign
      contributions of $774,358, not 756,858. Per the government’s Tax
28    Brief (pp. 2-3), the tax loss should be $7,299,556, not 7,694,109.

                                             25
